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                                       ADAM H. SENCENBAUGH
                                       Partner
                                       adam.sencenbaugh@haynesboone.com

                                       PRACTICES: Litigation, Labor and Employment, Wage and Hour Litigation, Environmental
                                       Litigation, Climate Change and Corporate Sustainability, Employment Litigation, Intellectual
                                       Property Litigation, Trade Secret Litigation; INDUSTRIES: Government Contracts,
                                       Government and Public Policy



                                       Adam Sencenbaugh has tried more than 20 cases to jury verdict. He represents clients in
AUSTIN                                 employment litigation and general civil litigation in arbitration, federal court, state court, the
600 CONGRESS AVENUE                    State Office of Administrative Hearings ("SOAH"), and various state administrative
SUITE 1300                             agencies. Adam serves as a trusted advisor to clients navigating a wide range of
AUSTIN, TX 78701                       employment law issues, including compliance with Title VII, § 1981, ADA, ADEA, FMLA,
T +1 512.867.8489                      and FLSA. Adam’s employment litigation practice is focused on defending clients against
F +1 512.867.8606                      claims of systemic discrimination prosecuted by the EEOC, as well as protecting employers
                                       against unfair competition and breaches of fiduciary duties. Adam also served as co-
SAN ANTONIO                            counsel for a coalition of 88 school districts in a lawsuit challenging the constitutionality of
112 EAST PECAN STREET                  the state’s current school finance system. This lawsuit, which was tried over the course of
SUITE 1200                             16 weeks, culminated in a 382-page decision from State District Judge John Dietz in
SAN ANTONIO, TX 78205                  August 2014, holding Texas’s school finance system unconstitutional on all of the grounds
T +1 210.978.7430                      asserted by Haynes and Boone’s clients.

                                       While working at Haynes and Boone, Adam served as a volunteer prosecutor for the city of
EDUCATION AND                          Houston, where he prosecuted thousands of misdemeanor cases for the state of Texas.
CLERKSHIPS                             Prior to joining the firm, Adam completed a federal district court clerkship and served as an
 ■ J.D., University of Texas           intern in the United States Attorney’s Office for the Western District of Texas in Austin.
   School of Law, 2007, with
   honors; Order of the Coif;          Adam was selected for inclusion in Texas Super Lawyers Rising Stars, Thomson Reuters,
   Texas Law Review                    for Employment Defense Litigation and Environmental Defense Litigation, 2015; and
 ■ B.A., University of Southern        Business Litigation, 2014-2020. He was also recognized as a Labor and Employment Star
   Mississippi, 2003, summa            by Benchmark Litigation, Euromoney Institutional Investor PLC, 2021.
   cum laude
                                       Selected Client Representations
 ■   Law Clerk, Hon. Keith
     Starrett, United States            • Won injunctive relief against Republic of Albania in federal court regarding production
     District Judge, Southern             sharing contract on behalf of Texas-based oil and gas company.
     District of Mississippi,           • Represented two major energy companies in appeal of TCEQ Administrative Order to
     2007-2008                            remediate Texas state Superfund Site.
                                        • Won summary judgment for national trucking company against discrimination and
ADMISSIONS                                retaliation claims under Title VII.
 ■Texas                                 • Obtained set-aside of default judgment taken against out-of-state commercial real
 ■Mississippi                             estate developer.
                                        • Defended national movie theater chain in wage and hour cases alleging violations of
COURT ADMISSIONS
                                          the Fair Labor Standards Act.




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                                                                                          ADAM H. SENCENBAUGH
                                                                                                                           Partner




 ■   U.S. Court of Appeals for the      • Prevailed in two-week trial before the State Office of Administrative Hearings regarding
     Fifth Circuit                        protest of Class I Underground Injection Control (UIC) permit application.
 ■   U.S. District Court for the        • Advised and represented clients on Comprehensive Environmental Response,
     Eastern District of Texas            Compensation, and Liability Act (CERCLA) issues in federal court.
 ■   U.S. District Court for the        • Defended multiple clients during EEOC investigations and litigation involving Title VII
     Southern District of Texas           discrimination claims.
 ■   U.S. District Court for the        • Prevented disclosure of client trade secrets and confidential information for numerous
     Western District of Texas            clients contracting with state and federal government agencies.
 ■   U.S. District Court for the        • Represented numerous clients before various state agencies, including the Texas Real
     Southern District of                 Estate Commission, the Texas Department of Health and Human Services, and the
     Mississippi                          Texas Board of Veterinary Medical Examiners.
 ■   U.S. District Court for the
     Northern District of              Professional and Community Activities
     Mississippi
                                        •   Equal Employment Opportunity Committee, American Bar Association
                                        •   Fellow, Texas Bar Foundation
                                        •   Director, Civil Litigation Section of Austin Bar Association
                                        •   Austin Young Lawyers Association
                                        •   Federal Bar Association
                                        •   American Inns of Court - Lloyd Lochridge Inn
                                        •   Young Leader, United Way of Greater Austin

                                       Selected Publications and Speeches

                                        • “Texas Environmental Law,” co-author, Volumes 45-46, Chapter 37 COVID-19
                                          Response Planning and Management, Thomson Reuters, 2020-2021.
                                        • “Administrative Challenges and Appeals,” speaker, UT Law CLE, 14th Annual
                                          Advanced Texas Administrative Law Seminar, Austin, Texas, August 16, 2019.
                                        • "A Company's #MeToo Moment," co-author, Texas Lawyer, April 1, 2018.
                                        • “Attorneys React to DOL Misclassification Guidance,” author, Law360, July 16, 2015.
                                        • “EEOC Litigation Update from the Inside,” presenter, Haynes and Boone Seminar,
                                          June 4, 2015.
                                        • “The Government is Watching: Current EEOC Litigation Priorities and Enforcement
                                          Strategies,” presenter, North San Antonio Chamber of Commerce, March 3, 2015.
                                        • “For Whom the Whistle Blows: Avoiding Retaliation and Whistleblower Claims,”
                                          presenter, Greater Houston Partnership, March 1, 2014.
                                        • "Is the Price Right: Medical Damages in Texas in the Wake of Haygood v. de
                                          Escabedo," presenter, Lloyd Lochridge Inn of the American Inns of Court, March 2012.
                                        • "Annual Review of Litigation, Chapter 3: Appellate Practice," contributor, American Bar
                                          Association Section of Business Law, April 2011.
                                        • "American Law and Jurisprudence on Fracing," contributor, Rocky Mountain Mineral
                                          Law Foundation Journal, Vol. 47, No. 2, 2010.




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